Case 1:18-cv-20032-JAL Document 1 Entered on FLSD Docket 01/03/2018 Page 1 of 19
                                                                                          FILED by            D.C.
 AO 243(Rev.01/15)                                                                                             Page
                     Mor
                       noxIJNDER28u.s.c.#2255ToVACATE,scTAsloc,oRc                           J'
                                                                                              FN 23 2018
                                                                                           STEVEN M LARIMORE
                              SENTENCE BY A PERSON IN FEDERAL CUSTODY                       CUERK u.j.ol
                                                                                                       s'r.cT.
 United StatesD istrictCourt                        District Of Florida, Miami D ' ' '                 '
 Wpir
    lsek>hjàtwhejkcjuvdcley:                                                        DocketorCaseNo.:
     g         a
 Place ofConfinement:                                               PrisonerNo.:
  FCC Coleman Low custody                                               65699-004
 UNITED STATES OFAM ERICA                                       Movantqncludenameunderwhichconviaed)
                                                     Mlguel Motan Diaz


                                                  M OTION
         (a)Nameandlocationofcourtwhichenteredthejudgmentofconvictionyouarechallenging:
  tl                                                                                                            lA    .- .
   nited States District Court                                                 g#$/dj#                                .
  400 North Miami Avenue, Suite 8N09                                           G... #
  Miami, Florida 33128-7716                                                     Jtltjgê                M:g
                                                                                :etn lfp                   Fee pd
         (b)CriminaldocketOrcasenumber(ifyouknowl:         15-cr-20264-JA
                                                                                 tk;..jpt#
                                                                                                                      lerk
         (a)Dateofthejudgmentofconviction(ifyouknowl: May 27, 2015
         (b)Dateofsentencing: July 27, 2015
                              120 months followed by three years of supervision
         Length ofsentence:

   4. Natureofcrime(al1counts): befng a felon in possession of a firearm affecLing
  interstate commerce in violation of 18 U.S.C. 5 922(g)
                                                                F It IN G F E E
                                                                            PAI
                                                                            In Form a
                                                                            P     rIs
                                                                                     St#ven M'
                                                                                             .Larimore, Clerk

        (a)W hatwasyourplea? (Checkone)
            (1) Notguilty               (2) Guilty        X            (3)Nolocontendere(nocontest)

        (b)lfyouenteredaguiltypleatoonecountorindictment,andanotguiltypleatoanothercountor
        wàatdidy0uplead guilty to andwhatdidyoupleadnotguilty to?
                                                   N/A




        Ifyouwenttotrial,whatkindoftrialdidyouhave? (Checkone) N/A           Jury
        Didyoutestifyatapretrialhearing,trial,orpost-trialhearing?N/A Yes                    xoX
                                                                X
        Didyouappealfrom thejudgmentofconviction?         Yes                 No
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     9. Ifyoudidappeal,answerthe following:
          (a)Nameofcourt: Eleventh Circuit Court of Appeals
          (L) Docketorcasenumber(ifyouknow) 15-13608
                                               .
                                               .


          (c) Result:        affirmed
          @) Dateofresult(ifyouknowl: June.16, 2016
         (e)Citationtothecase(ifyouknowl:
         (9 Groundsraised:
         did the district court violate Mr . Diaz 's statutory right to a fair
  sentence by relying on extra record hearsay resulting in a sentence that was
  substantively unreasonable.




         (g)DidyoufileapetitionforcertiorariintheUnitedjtatesSupremeCourt?          Yes xl           No
              lf:<Yes,''answerthefollowing:




              (3)Dateofresult(ifyouknowl: January 9, 2017
             (4)Citationtothecase(ifyouknowl:
             (5)Groundsraised;        whether       the     court below         used     extra-judicial
  congressional testimony to sentence Mr . Diaz outside his guideline range
  regardless of the statutory maximum range under j922(g)(1).




        Otherthanthedirectappealslisted above,haveyou previously filed any otherm otions,petitions,orapplications,
        concernin thisjud mentofconvictioninany court?
          Yes        No X
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                                                                                                                1




             (6) Didyoureceiveahearing whereevidencewasgivenonyourmotion,petition,orapplication?
                     Yes         No


            (8)




            (6) Didyoureceiveahearing whereevidencewasgivenonyourmotion,petition,orapplication?
                     Yes        No
                  Result:
           (8) Dateofresult(ifyotlkrlowl:
       (c) Didyouappealtoafederalappellatecourthavingjurisdictionovertheactiontakenonyourm otion,petition,
       orapplication?
               Firstpetition:         Yes         No
           (2) Secondpetition:     Yes         No
       (d) lfyoudidnotappealfrom theactiononanymotion,petition,orapplication,explain briefly whyyou didnot:




       Forthismotion,stateeveryground on which youclaim thatyou arebeing held in violation ofthe Constitution,
       laws,ortreatiesofthe United States. Adach additionalpagesifyouhavemorethan fourgrounds. Statethe facts
       supporting each ground.
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 AO243(Rev 01/15)                                                                                   Pages
                          Sentencing counsel failed to prepare for the district court's
 GROUND ONE:
  pua sponte introduction of non- individualized hearsay concerning general.....
        (a) Supportingfacts(Donotargue orcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
   see continuation page attached .




       (b)DirectAppealofGroundOne:
           (1) lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                     Y es        No X
                Ifyou did notraisethisissueinyourdirectappeal,explain why:
                    issue was not right for review on direct appeal

       (c) Post-conviction Proceedings:
                Didyouraisethisissuein anypost-conviction motion,petition,orapplication?
                     Yes         No         N/A
          (2) lfyouanswertoQuestion(c)(1)isûçYes,''state:
          Type ofmotion orpetition:
          Nameand location ofthecourtwhere them otion orpetitionwasfiled'
                                                                        .




          (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                 Yes           No
               Didyou appealfrom thedenialofyourmotion,petition,orapplication?
                    Yes         No
               lfyouranswertoQuestion(c)(4)isûkYes,''didyouraisetheissueintheappeal?
                    Yes         No
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                                                                                               Page6
AO 243(Rev 0l/15)
            (6) IfyouranswertoQuestion (c)(4)is:ûYes,''state:
           Nameantllocationofthecourtwherethe appea!wasfiled:



           Dateofthecourt'sdecision:
           Result(attachacopyofthecourt'sopinionororder,ifavailaàle):




 GROUND T&VO: Sentencing counsel failed to oblect to the district court's
  inclusion and consideration of untested, non- adversarial (po11tica1).....
     (a) Suppo/ingfacts(D0notargueorcitelaw.Juststatethespecificfactsthatsupportyourclaimm):
   see continuation page attached ....




       (b)DirectAppealofGroundTwo:
           (1) lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                       Yes         No



                    lfyoudidnotraisethisissuein yourdirectappeal,explain why:



       (c)Post-convictionProceedings:
          (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                      Yes          No
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                                                                                                    Page7
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             (2) lfyouanswertoQuestion (c)(1)is$(Yes,''state:
             Typeofrnotion orpetition:
             Nameandlocation ofthecourtwherethemotion orpetïtion wasfiled:


             Docketorcasenumber(ifyou knowl:
             Dateofthecourt'sdecision:
             Result(attachacopyofthecourt'sopinion ororder,ifavailable):


             (3) Didyoureceiveahearing onyourmotion,petition,orapplication?
                       Y es   '   No
             (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                       Y es       No
             (5) lfyouranswertoQuestion (c)(4)isççYes,''didyouraisetheissueintheappeal?
                       Yes        No
             (6) IfyouranswertoQuestion (c)(4)is*'Yes,''state:
            N ame and location ofthecourtwherethe appealwasfled:



             Dateofthecourt'sdtcision:




             1SStlC:




 GROUND THREE:Mr. Diazls guilty plea was invalid, since the plea was unknuèt
                                                                         ' gg,
unin/elligent, and involuntary.                  --.
                                                   --
        (a) Supportingfacts(DonotargueorciteIaw.Juststatethespecificfactsthatsupportyourclaim .):
             Facts contained on continuation page .
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        (b)DirectAppealofGroundThree:
           (1) Ifyouappealedfrom thej gmentofconviction,didyouraisethisissue?
                    Yes           No
                 lfyou did notraisethisissue inyourdirectappeal,explainwhy:
                 ISSUe WaS nOt ripe f0r review .


        (c)Post-convictionProceedings:
           (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                     Yes         No
            (2) IfyouanswertoQuestion (c)(1)istçYes,''state:
            Typeofmotion orpetition.
                                   .
            Nameandlocation ofthecourtwherethemotion orpetition wasfiled:



            Dateofthecourt'sdecision'.
            Result(attach acopv ofthecourt'sopinion ororder.ifavailable):



           (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     Yes        No
           (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     Yes        No
           (5) lfyouranswertoQuestion(c)(4)istçYes,''didyouraisetheissueintheappeal?
                     Yes        No


           (6) lfyouranswertoQuestion(c)(4)is(<Yes,''state:
           Nameand Iocation ofthecourtwheretheaooealwasfiled:
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              IfyouranswertoQuestion(c)(4)orQuesticm (c)(5)isdûN0,''explainwhyyoudidnotappealorraisethis




 cRouxo FoUR:Mr. Diaz was depied the assistance of counsel b0th at sentencing
                 a
 extent of the sentencing court 's discretion.
      (a) Supportingfacts(Donotargue orcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
         Facts contained on continuation page.




     (b)DirectAppealofGroundFour:
            Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                Yes          No
                                  @
        (2) lfyoudidnotraisethisissueinyourdirectappeal,explainwhy:
            ISSUe WaS nOt ripe for review .




        (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                Yes          No


        (2) lfycltlanswertoQuestion(c)(1)isû:Yes,''state:
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                     Didyoureceiveahearing onyourmotion,petition,orapplication?
                        Yes          No
                     Did youappealfrom thedcnialofyourm otion,petition,orapplication?
                       Yes          No
                     lfyouranswertoQuestion (c)(4)isttYes,''didyouraisetheissueintheappeal?
                       Yes          No     .
            (6) lfyouranswertoQuestion (c)(4)isççYes,''state:
            Nameandlocation ofthecourtwheretheappealwastiled:




            (7) lfyouranswertoQuestion (c)(4)orQuestion(c)(5)is$çNo,''explainwhyyoudidnotappealorraisethis
            issue:




       Isthereany ground in thismotion thatyou have notpreviously presented in sorne federalcourt? lfso,which
       ground orgroundjhavenotbeen presented,and stateyourreasonsfornotpresenting them :
        ineffective claim s ar'
                              è raised for the first tim e in this collateral
        proceeding.




       Doyouhaveanymotion,petition,orappealnow oendine(filedandnotdecidedyet)inanycourtforthe
       you arechallenging?      Yes            No x
       IfttYes,''statethenameandlocation ofthecourt,thedocketorcasenum ber,thetypeofproceeding,and the
       issuesraised.
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 AO 243(Rev.O1/15)
  15. Give thcnam eand address,ifknow n,ofeach attol-ncy who representedyou in the following stagesofthe
      you arechallenging:
        (a)Atthepreliminaryhearing:
         Daniel Ecarius, AFPD ; 150 West Flagler Street, Suite 1500, Miami F1. 33130
        (b)Atthearraignmentandplea:
         Sam e

        (c)Atthetrial:
         N/A




       W ereyou sentenced on morethan one courtofan indictment,oron more than one indictment,in thesamecourt
       and atthesametime?.          Yes           No X

       Doyouhaveany futuresentencetoserveafter oucompletethesentenceforthejudgmentthatyouare
                                                X
       challenging?          Yes          No
       (a)lfso,givenameandlocationofcourtthatimposedtheothersentenceyouwillserveinthefuture:


       (b)Givethedatetheothersentence wasimposed:
       (c)GivetheIengthoftheothersentence:
       (d)Haveyoufiled,ordoyouplantofile,anymotion,petition,orapplicationthatchallengesthejudgmentor
       sentenceto beservedin thcfuture?        Yes          No


      TIMELINESSOFMoTloN'
                        .lfyourjudgmentofconvictionbecameûnaloveroneyearago,you mustexplain
      whytheone-yearstatuteoflimitationsascontainedin28U.S.C.j2255doesnotbaryourmotion.*
         this motion is timely filed based on the AEDPA statute of limitation . Mr.
         Diaz's writ of certiorari was denied on January 9th, 2017, Mr. Dirt; has
         until January 9th, 2018 to file this application, therefore, the application
         is timely pursuant to (f)(1).
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 AO 243(Rcv.01/15)




    #TheAntiterrorism andEffectiveDeath PenaltyActof1996(CIAEDPA'')ascontainedin28U.S.C.j2255,
    paragraph 6,providesin pal'
                              tthat;
       A one-yearperiod oflimitationshallapply to amotion underthissection.Thelimitation period shallrun
       from theiatestof-
           (1) thedateonwhichthejudgmentofconvictionbecamefinal;
           (2) thedateonwhichtheimpedimenttomakingamotioncreatedbygovemmentalactionin violationof
           theConstitution orlawsoftheUnited Statesisremoved,ifthemovantwasprevented frorn m aking such a
           motionby suchgovernmentalaction;
           (3) thedateonwhichtherightassertedwasinitiallyrecognizedbytheSupremeCourt,ifthatrighthas
           beennewly recognized by theSupremeCourtand maderetroactive/y applicableto caseson callateral
           review;or
           (4) thedateonwhichthefactssupportingtheclaim orclaimspresentedcouldhavebeendiscovered
           through theexerciseofduediligence.
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 A()2
     43(Rev.02/15)                                                                                        Page 13
  Therefore.m oïantasksthattheCptlrtcrantthefollowinc relief:tO Vacate sentence and to be resentenced
         within the guideline range as recom ended by the United States Attorney 's
         Off1ce, that ls, 4l months of fmprisonment.

 orany otherreliefto which movantmay be entitled.




                                                            SignatureofAttorney(ifany)


 1declaretorcertify,verify,Orstate)underPenaltyofperjurythattheforegoingistruealldcorrectandthatthisM otion
 under28U.S.C.j2255Wasplacedintheprisonmailingsystemon               jZ -C 9-.X01'
                                                                                 M                         '
                                                                          (month,date,year)



 Executed(signed)on 12 .-2 9 - Z O l9                       (date)
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                                                                      :        k
                                                            Signatureof ov t


 lftheperson signing isnotmovant,staterelationshiptomovantand explainwhy movantisnotsigning thismotion.
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   Ground One: Sentencing counsel failed to prepare for the district court's
   sua sponte introduction of non-individualized hearsay concerning general
   concerns about terrorism. Defense counsel performs outside of professional
   norms when counsel inadequately prepares for sentencing . Counsel 's inadequate
   performance deprived Mr. Diaz of the Sixth Amendment guarantee of an
   effective attorney.


   Supporting Facts: At the beginning           the investigation the government
   thought Mr. Diaz maybe a terrorist in the making; ultimately, it turns out
   that the FBI learned Mr. Diaz internet rantings were a cry for attention and
   Mr. Diaz's Walter-Mitty-like pursuit of significance.
         Once the government became aware that Mr. Diaz's plans were bluster
   and bark , not bite, the government turned to a more vanilla prosecution felon
   in   possessfon   of   an   unauthorized weapon .           readily   accepted
   responsibility for the charge.
         This left Mr . Diaz with a one dimensional defense, mitigating the
   sentence. Of course, the advisory guideline was tiny by federal standards,
   i.e., 33-41 months. Nonetheless, with the terrorism shadow , defense counsel
   should have been prepared to militate Mr . Diaz 's stupid, impulsive attention
   seeking cyber chatter .
         At    minimum,    mental health evaluation to show that Mr . Diaz's
   inappropriate comments were indicative of hyperbole y not violence. Further,
   the attorneys should have interviewed Mr. Diaz's family and friends, turning
   those intervfews into affidavits and testimony that bolstered Mr . Dfaz's
   history .


   1.2 Sentencing counsel's lack of preparation prevented Mr . Diaz from making
   a factual case that militated against the district court's preconceptions
   regarding the epfdemic of terrorist speech . This court should vacate the
   conviction and return Mr. Diaz to the presentencing stage, appoint counsel
   and provide counsel the time and resources           prepare for a contested
   sentencing, even if the contest is only with the court.
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   Ground Two: Sentencing counsel failed to oblect to the district court's
   inclusion and consideration of untested , non-adversarial (political) hearsay.
   A
    ssuming that consfderation of broad politfcal comments is appropriate under
   any sentencing circumstance. Any reasonable attorney would have oblected to
   the rare event, in order to preserve Rule 52(a) review on direct appeal.
          At trial the government moved for                  three level acceptance of

   responsibility departure, and recommended a within guideline sentence . The

   government sought the high end             months)    the advisory range because of
   Mr .   Diaz's   illadvised    antics .    The   defense   sought   the   1ow   end   (33
   monthsltsent. Tr.p.3/6-21).
          The district court, however, elected to exercise its discretfon and

   disregard the parties recommendation. Instead the district court decided to

   consider the factual proffer,            revised advisory presentence investigation

   report (that counsel objected            and Hvarious statements''        James Comey,
   the director of the Federal Bureau               lnvestigation (FBI) and HMichael
   Steinbech'' also       the FBI (Sent. Tr. pp. 9-23). Notablyy b0th Comey and
   Steinbeck were not discussing Mr. Diaz's case and lfkely did not (do not)
   know Mr. Diaz exists. Td.

          Nevertheless,         Diaz's counsel did not object               the political
   statements being introduced into the record                the court considering the

   statements in determining the individualized sentence for Mr . Diaz. Any

   defense attorney would have objected to the district courtls procedure first
      an effort to change the district court's methodology and if unsuccessful,

   then to preserve the claim for Rule 52(a)'s standard of review. The Eleventh
  Circuit held, MEblecause Diaz failed to object to the district court's
  consideration of congressional testimony at his sentencing hearing, plain

  error review applies.'' (App. 0pn.). If counsel had objected then on appeal
  Mr. Diaz could have met the lesser burden under Rule 52(a) especially, if
  the use of extra record evidence violated due process and cast the burden

  of persuasion on the government.
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         Mr. Diaz should be returned to the sentencing stage in order to allow

   counsel to object: to the congressional hearsay and to the nfactual''proffer
    (or better yet remove conclusory inferences from the proffer so that it
   reflects only facts presumptions and opinions).
         And, thereafter, if necessary to raise the sentencing claim on direct

   review under the appropriate statutory and constitutional standards.

   Ground Three: Mr . Dfaz 's guilty plea was invalid, since the plea was
   unknowlng , unintelligent , and involuntary.

   Supporting Facts: Mr . Diaz believed that he would receive a 3 level departure

   that would place him in             41 month sentencing range. He did not fully

   comprehend that the district court could reject b0th parties agreement that
   the Guideline's advisory range was reasonably. If he had understood that the

   district   court   could   ignore mutual recommendation , without any   record
   evidence, he would not have pleaded guilty as he

         Relatedly , his counsel appeared        miscomprehend the effect of the

   parties agreement that a Guidelines sentence should apply . Otherwise, counsel

   would have obtained a binding plea agreement under Rule 11(c). Yet, counsel
   not only failed to ensure Mr. Diaz under his legal alternatives, but also,

   counsel failed to pursue        binding plea agreement as the 1aw expressly

   allows.

         Also, similar in nature, but with no vagaries, Mr. Diaz (and counsel)

   believed that regardless       where 9 3553(a) analysis commenced from Mr'
                                                                            , Diaz
   would receive a 3 level departure. The government complied with its agreement

   (however illusory the consideration was) and sought the full three level
   reduction. (Sent. Tr.,p.3). This court ''grantedl' the reduction.lld.). But
   paradigmic example of illusory consideration what this court gqvm with its
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    left hand, it took back wfth fts right. In other words, despite granting the

    departure, thfs court fgnored it by imposing the statutory maxfmum sentence.

       Mr. Dfaz had understood the acceptance departure was a mfrage. He would

    not have pleaded guilty .
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   Ground Four:

            The Constitution provides that every accused w111 the effectively

   assistance of counsel at each critical stage in the criminal prosecution .

   Sentencing           critical. The professional norms require an             attorney
   understand and prepare for              sentencing . Mr. Diaz's counsel failed to

   prepare and once surprised failed               request   continuance in order to

   address the surprise. Counselfs unpreparedness and failu
                                                                       re to object were
   deficient performance that reasonably likely increased Mr. Diaz's sentence
                                                                              .




   Supporting bacts :

         The governmentls investigatfon        of Mr. Diaz focused on his wannabe

   terrorists ranting. The investigators ultimately realized Mr . Diaz's rants

   were attention getting noise rather than nefarious plans                 violence .

   conclusion supported by         Diaz refusing         take any overt
                                                                           step although
   regularly enticed to do so by the undercover agents.

        As a result of that investigative conclusion , the government entered

   into an agreement that called              sentence within the advisory guideline

   range. The Guidelines established the range at between 33 and 41 months. The

   agreement allowed the government to present any evidence available to obtain

  a high-end (41 months) sentence. Similarly, the defense could submit evidence
  to encourage the court to the 1ow end of the range (33 months). Obviously,
  this court 's discretion was unconstrained by the agre
                                                             ement .
        Defense counsel, however, did not prepare for the court's exercise of

  that discretion to double or triple the sentence to the st
                                                            atutory maximum . An
  oversight that is not excusable in the light of District Judge Lenord's well

  known (and Justiffable) antfpathy to criminals who use weapons. Defense
  counsel    should   have   anticipated    that   this district   court would need

  significant evidence, to keep Mr. Diaz within the 1ow end of the range
                                                                         .
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         Possfbly more dfsturbfng, once surprised, counsel should have not only

   objected to use of the political hearsay but also should have requested a
   continuance in order to prepare the new legal terrain that the contest would

   be fought on.
'




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